
In re: State of Louisiana applying for Writ of Certiorari, Prohibition and Mandamus.
Writ granted. (See Order.)
The petitioner of the relator in the above entitled and numbered case having been duly considered.
It is ordered that a writ of certiorari issue herein, directing the Honorable Alvin V. Oser, Judge of the Criminal District, Court for the Parish of Orleans, to transmit to the Supreme Court of Louisiana, on or before the 2nd day of April, 1976, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 25th day of June, 1976 at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
